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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

14              Plaintiff,                    ORDER CONTINUING SENTENCING AND
                                              MOTION HEARING DATE AND BRIEFING
15                    v.                      SCHEDULE
16   DANIEL FLINT,                            [PROPOSED] SENTENCING AND MOTION
                                              HEARING DATE: 4/29/19
17              Defendant.

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19         The Court has read and considered the Stipulation Regarding
20   Request for (1) Continuance of Sentencing and Motion Hearing Date and
21   (2) Continuance of the Briefing Schedule, filed by the parties in
22   this matter on March 6, 2019.       The Court hereby finds that the
23   Stipulation, which this Court incorporates by reference into this
24   Order, demonstrates facts that support a continuance of the
25   sentencing and motion hearing date.
26         THEREFORE, FOR GOOD CAUSE SHOWN:
27         1.    The sentencing and motion hearing in this matter is
28   continued from April 1, 2019, to April 29, 2019 at 10:00 a.m.
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 1         2.    The government shall file its opposition to defendant’s

 2   post-trial motions by March 25, 2019.         Replies, if any, shall be

 3   filed by April 8, 2019.

 4         3.    Defendant shall appear in Courtroom 10C of the Federal

 5   Courthouse, 350 W. First Street, Los Angeles, California on April 29,

 6   2019, at 10:00 a.m. for sentencing.

 7         IT IS SO ORDERED.

 8     March 8, 2019.

 9     DATE                                    HONORABLE S. JAMES OTERO
                                               UNITED STATES DISTRICT JUDGE
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11   CC:   PROBATION OFFICE
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